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                 EXHIBIT 2
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Trefz, Katherine

From:                Trefz, Katherine
Sent:                Friday, January 20, 2023 12:42 PM
To:                  Leach, Robert (USACAN); Bostic, John (USACAN); Schenk, Jeffrey (USACAN); Volkar, Kelly (USACAN)
Cc:                  Downey, Kevin; Wade, Lance; Saharia, Amy; John D. Cline
Subject:             US v. Holmes - 18-cr-258


Counsel,

We write to raise two concerns regarding yesterday’s filing.

First, the filing breaches a confidentiality restriction imposed by 18 U.S.C. § 3153. In particular, the government’s brief
quotes restricted docket number 1695, which states on its face that it is confidential due to the sensitive nature of the
information contained. Dkt. 1695 at 2 (citing 18 U.S.C. § 3153).

Additionally, the government has—for the second time—publicly disclosed confidential financial information provided
during the PSR process. L. Crim. R. 32‐7. I previously raised this issue with Mr. Leach in a phone call on November 14th
in connection with the government’s sentencing pleading, and we agreed that the government would not do so again
without an opportunity for us to address the issue in advance. Please remove the confidential information from public
view, or let us know your refusal to do so.

Second, we request that the government immediately correct its factual misrepresentations about Mr. Evans’ travel to
Mexico and reentry into the United States. The government states that Mr. Evans returned to the United States from his
trip to Mexico several weeks later through a different continent. Government records can confirm this is incorrect. Mr.
Evans returned through Tijuana on January 30, 2022 and was back at home in Woodside, California by February 2,
2022. (Indeed, he took domestic flights later in February 2022, including between San Francisco and Salt Lake City.) On
February 20, 2022, he flew to South Africa via United flights UA2218 (SFO to EWR) and UA1122 (EWR to CPT). Although
we believe there are other factual errors and mischaracterizations in the government’s brief, this misrepresentation is
demonstrably false and made worse by the inflammatory way in which it is used in the brief. We expect that the
government will correct this immediately.

Katie

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